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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

CASE NO. 22-CR-20152-MOORE

UNITED STATES OF AMERICA
Plaintiff,

VS.

ELIZABETH HERNANDEZ,
Defendant.

QUESTION/NOTE FROM DELIBERATING JURY

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Case 1:22-cr-20152-KMM Document 137 Entered on FLSD Docket 09/21/2023 Page 2 of 2

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